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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

KASEY D. ALVES,
Plaintiff,

VS. CAUSE NO.: 1:06cv912 LG-JMR
HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF'S DEPARTMENT;
SHERIFF GEORGE PAYNE, JR.; AND,
HEALTH ASSURANCE, LLC.,

Defendants.

DEPOSITION
OF
WILLIAM MARTIN
Taken on behalf of the Plaintiff
1:41 p.m., Wednesday, March 12th, 2008
before

Lisa H. Brown, CSR #1166

COAST-WIDE REPORTERS
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(228) 374-5066

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22
1 out, ain't it?
2 Q. Okay. Did you ever have a chance to talk to
3 Sheriff Payne about his concerns about violence in the
4 booking area?
5 A. Prior to this or before this report?
6 Q. At any time.
7 A. Yeah, prior to this. I haven't talked to

8 sheriff after this report. I haven't talked to the
9 sheriff -- I can't even remember the last time I

10 talked to sheriff. I know I talked to the sheriff

11 about my concerns about violence in the jail prior to
12 this report over a number of years.

13 Q. What were your concerns about it?

14 A. Well, periodically the Board received

15 written complaints from inmates that they were being
16 beaten. We turned those complaints over to the

17 District Attorney's office for investigation.

18 Q. You talked to the sheriff about your

19 concerns?

20 A. Yeah.

21 Q. What was his response to your concerns?

22 A. That they were working on it. That was the
23 purpose of -- one of the purposes of the Harrison

24 County Criminal Justice Coordinating Council was to
25 try and -- everything was related back to

COAST-WIDE REPORTERS
